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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 12-23743-CIV-HUCK/MCALILEY
RICARDO DEVENGOECHEA,
Plaintiff,
v.

BOLIVARIAN REPUBLIC OF
VENEZUELA, a foreign state,

Defendant.

 

ORDER

This cause is before the Court on Defendant’s Agreed Motion to Stay Proceedings
Pending Settlement (the “Motion”), filed on December 14, 2018 [ECF No. 220]. Having
reviewed the Motion and being otherwise duly advised, it is hereby

ORDERED and ADJUDGED that the Motion is' GRANTED. The parties shall
immediately advise the Court if this matter is settled. The Order setting the non-jury trial for the
two-week period commencing Monday, February 4, 2019, and calendar call for Wednesday,
January 30, 2019 [ECF No. 207], is VACATED. In the event that this matter is not settled, the
non-jury trial is scheduled to commence during the two-week period commencing Monday,
April 8, 2019. Calendar call shall be held on Wednesday, April 3, 2019, at 9:00 a.m.

DONE and ORDEDRED in Chambers in Miami, Florida on December 17, 2018.

    

' aul . 'ck
United States District Judge

Copies provided to:
All counsel of record

